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5
                                UNITED STATES DISTRICT COURT
6
                          FOR THE WESTERN DISTRICT OF WASHINGTON
7
                                         AT TACOMA

8
     JENNIFER L. BOJE,
9                                                            Case No.:
             Plaintiff,
10
     vs.                                                     COMPLAINT
11
     UNITED STATES OF AMERICA,
12

13           Defendants.

14
                                               COMPLAINT
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16
             This is an action seeking damages against the United States government for

17   negligence under the Federal Tort Claims Act.

18                                        I.      JURISDICTION
19           1.       The jurisdiction of this Court is based upon the Federal Tort Claims Act,
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     28 U.S.C. §'s 1346(b), 2671-2680. Paragraphs 2 through 6 hereof are incorporated herein
21
     by reference.
22
             2.       Plaintiff Jennifer L. Boje is a citizen of the United States and resides in this
23
     judicial district.
24

25           3.       Plaintiff filed a claim with the United States Postal Service on or about

26
                                                                            Harold D. Carr, P.S.
                                                                              4239 Martin Way E.
     COMPLAINT - 1                                                            Olympia WA 98516
     (Case No.)
                                                                                (360) 455-0030
                                                                              Fax (360) 455-0031
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     November 12, 2019, as required by 28 U.S.C. §2675(a). A copy of that claim is attached
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2
     as Exhibit A.

3            4.          The United States Postal Service has failed to make a disposition of

4    Plaintiff's claim within six months from the date of the Plaintiff's filing of the request for
5    reconsideration.
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                                                II.    VENUE
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             5.          Venue is proper under 28 U.S.C. §1402(b) because the acts giving rise to
8
     the claim occurred in this judicial district.
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                  III.     CLAIMS FOR RELIEF – FEDERAL TORT CLAIMS ACT
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             6.          On May 11, 2018, Laura Belongia, while employed with the United States
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     Postal Service and operating a motor vehicle owned by the United States Postal Service
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     negligently collided the motor vehicle into plaintiff Jennifer L. Boje while plaintiff was
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15
     riding a bicycle, in a cross walk, in the city of Centralia, Lewis County, State of

16   Washington.

17           7.          At the time of the collision, Laura Belongia was acting within the course
18   and scope of her employment with the United States government as an employee of the
19
     United States Postal Service.
20
             8.          As a result of the collision, plaintiff Jennifer L. Boje sustained serious
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     physical and emotional injuries and other damages.
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             9.          As a result of her injuries, plaintiff Jennifer L. Boje has suffered, and
23

24   continues to suffer, physical disability, pain, emotional trauma, medical expenses, loss of

25   earnings and earnings capacity, and such other general and special damages as shall be

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                                                                           Harold D. Carr, P.S.
                                                                             4239 Martin Way E.
     COMPLAINT - 2                                                           Olympia WA 98516
     (Case No.)
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                                                                             Fax (360) 455-0031
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